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UNITED STATES DISTRICT COURT                    SOUTHERN DISTRICT OF TEXAS

                                HOUSTON DIVISION

Rachel Corina Luna
  Plaintiff(s),

v.                                                    Case No. 4:22−cv−01151

Nations Direct Mortgage, LLC
  Defendant(s).



                             NOTICE OF SETTING
                             PLEASE TAKE NOTICE

                             HEARING: Motion Hearing
                        RE: Motion for Summary Judgment − #11
                                 DATE:    2/15/2023
                                  TIME:   01:30 PM
                               HAS BEEN SET BEFORE
                              JUDGE KEITH P. ELLISON


         ALL PARTIES MAY APPEAR BY TELEPHONE BY CALLING IN
            ON THE COURT'S DIAL−IN NUMBER AT 713−250−5238.
       ENTER CONFERENCE ID: 45238, FOLLOWED BY PASSWORD: 13579.

IF THE PARTIES WOULD LIKE TO JOINTLY REQUEST AN IN−PERSON HEARING,
               PLEASE NOTIFY ARTURO RIVERA BY EMAIL.




Nathan Ochsner, Clerk                                           Date: February 14, 2023
By Deputy Clerk, A. Rivera
